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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,
                                                           Case No. 1:10-cr-30049-MC-1
                                Plaintiff,
                                                           ORDER GRANTING MOTION
                        v.                                 TO REDUCE SENTENCE
                                                           (COMPASSIONATE RELEASE)
 DAVID JON RENDON,

                                Respondent.

       This matter having come before the Court on the motion of the Defndant to reduce sentence

pursuant to 18 U.S.C. 21 3582(c)(1)(A)(i) (Compassionate Release), and based on the information

filed to date and the agreement of the parties:

       IT IS HEREBY ORDERED that the Motion to Reduce Sentence is granted. Defendant

shall be released to the commence his term of supervised release. He shall initially reside in the

RRC in Portland, Oregon for 6-12 months, during which time he will promptly participate in an

ASAM evaluation and then participate in the recommended level of treatment. After 6 months and

the successful completion of that treatment, Defendant may be released to the community (and

seek the transfer of supervision to California where he had his fiancè reside.

                   10th day of November, 2021.
       Dated this _______


                                                  s/Michael J. McShane
                                              Michael J. McShane
                                              United States District Judge
Submitted by:

/s/ Thomas J. Hester
Thomas J. Hester
Assistant Federal Public Defender



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